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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Richmond Division


                          PRETRIAL SCHEDULE A

     This Pretrial Schedule A ("Schedule A") shall govern
the schedule of events in this action; and, therefore, it is
incorporated into the Scheduling Order to which it is attached.


I.   GENERAL INSTRUCTIONS

     A.   Conflict With Local Rules Or Federal Rules Of Civil
          Procedure

     Because they govern events incident to trial and the
control of the Court's docket, the Scheduling Orders and
Pretrial Orders issued by the Court and this Schedule A shall
control over any perceived conflicting Local Rule or Federal
Rule of Civil Procedure, unless the party perceiving a conflict
shall raise it by motion, brief it in the manner required by the
Local   Rules  and   demonstrate  therein   why   the  perceived
conflicting provision of a Pretrial Order, a Scheduling Order or
Schedule A should not control.

     B.   Filing Deadlines And Service Of Papers

          1.   If any filing deadline set in this Schedule A or
the Scheduling Order or a Pretrial Order falls upon a Saturday,
Sunday, or holiday, service on the opposing counsel or party
shall be on the last preceding business day.     The papers so
served shall be filed on the first business day following the
Saturday, Sunday, or holiday.

          2.   All filing deadlines expire at midnight on the
applicable date, except as specifically ordered by the Court.

     C.   Calculation Of The Dates

     For the purpose of calculating dates, the date of trial
shall not be counted.




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      D.   Settlement

     Counsel   shall  notify   the  Court   immediately of  any
settlement and shall submit a final order within fifteen (15)
calendar days thereafter unless otherwise ordered by the Court.
If such an order is not timely submitted, the action will be
dismissed by the Court with prejudice on the basis of the
representation that the action has been settled.

II.   MOTIONS

      A.   Local Rule 7

     Local Rule 7 shall govern the filing of motions in this
action, except where otherwise stated. All hearing dates should
be arranged with the secretary to the district judge.

      B.   Discovery Disputes

          Counsel are expected to resolve discovery disputes
without filing pleadings or involving the Court. If, after good
faith effort, counsel are unable to resolve disputes, they will
be resolved, if at all possible, in a telephone conference
without the filing of pleadings.      In the unusual event that
resolution of a discovery dispute requires the filing of
motions, they shall be filed, briefed and heard in sufficient
time to allow completion of the requested discovery by the
discovery cut-off date, taking into account the time allowed for
responses and replies under the Federal Rules of Civil
Procedure, the Local Rules, or any other Order of the Court.

      C.   Summary Judgment Motions

          1.   All motions for summary judgment shall be filed
at the earliest possible date consistent with the requirements
of the Federal Rules of Civil Procedure, but such motions shall
be filed no later than forty-five (45) calendar days before the
scheduled Final Pretrial Conference.

          2.   A hearing, if desired, shall be scheduled to take
place no later than twenty (20) calendar days before the Final
Pretrial Conference.




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     D.   Motions In Limine

     Motions in limine, if any, shall be filed in sufficient
time, taking into account the time allowed for responses and
replies, to be ripe for hearing no later than ten (10) days
before the Final Pretrial Conference. At the discretion of the
Court, hearings on motions in limine may be deferred until
trial.


III. DISCOVERY

     A.   Filing Discovery

     Except for good cause shown by motion under Fed. R. Civ. P.
5(d), discovery materials shall not be filed with the pleadings
or papers in any case.    Where specific discovery material may
appropriately support or oppose a motion, the specific discovery
material in question shall be appended as an exhibit to the
motion, or in response thereto, without having been previously
filed.   Discovery material otherwise permitted to be used at
trial may be properly so used, if otherwise admissible, without
having been previously filed.

     B.   Privilege Lists

     If a party objects to the production of documents on the
grounds of attorney-client privilege, attorney work product
doctrine, or any other privilege, the objecting party must
provide the requesting party with an inventory list of the
documents to which objection is made, together with a brief
description of the document, including the date, the author, and
the identity of each recipient, and the claimed basis for its
protection, all of which shall be sufficient to permit the
opposing party to assess the claim of privilege or protection.

     Unless otherwise ordered by the Court on a              timely filed
motion, claims of privilege or protection shall be          waived unless
the inventory and description are served with the           objections to
the request for production in the time required             by the Local
Rules.

     C.   Close Of Discovery

     All fact discovery, including all supplementation, shall be
concluded no later than fifty (50) calendar days before the
Final Pretrial Conference.

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IV.   EXPERTS

          1.   Local   Rule  26   shall         govern     disclosure   and
discovery of experts and their reports.

          2.   Unless the Court orders otherwise for good cause
shown, expert witnesses and reports not disclosed as required by
Fed. R. Civ. P. 26(a)(2) and (3) and the deadlines established
herein shall not be allowed to testify or be admitted into
evidence, as the case may be.

          3.   Only one expert          per   discipline    is   permitted,
except by order of the Court.


V.    TRIAL PREPARATION PROCEDURES AND DEADLINES

      A.   Written Stipulations

          1.   No later than twenty-four (24) calendar days
before the Final Pretrial Conference, counsel for each party
shall meet and confer in a good faith effort to enter into
written stipulations of uncontroverted facts.       Unless the
parties agree otherwise, this conference shall be held at the
counsel's office that is closest to the courthouse.

          2.   Written stipulations shall be signed by each
counsel and filed no later than eleven (11) calendar days before
the Final Pretrial Conference.

      B.   Discovery Designations And Summaries

          1.    No later than twenty-one (21) calendar days
before the Final Pretrial Conference, all parties shall serve on
all other counsel a list of all discovery materials, specifying
the appropriate portions thereof, that the party intends to
offer at trial.

          3.   No later than fourteen (14) calendar days before
the Final Pretrial Conference, all parties shall serve on all
counsel, a list of all "fairness" or rebuttal designations and
amended summaries, as appropriate.

          4.   No later than eleven (11) calendar days before
the Final Pretrial Conference, any objection to the introduction
of any designation or parts thereof or any summary shall be
filed by each of the parties in writing with the Clerk.     Such

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objection shall be deemed to have been waived if not timely
filed.

          5.  No later than nine (9) calendar days before the
Final Pretrial Conference, counsel shall confer to resolve
objections to discovery designations.  If objections are not
resolved, they shall be determined at the Final Pretrial
Conference.

          It shall be the responsibility of the objecting party
to file the specific discovery designation or summary with the
party's objections thereto. All such documents shall be clearly
marked, indexed, and easily reviewable.

          The party offering the designated discovery shall be
responsible for: (i) conforming it to the agreement reached by
the parties or to the rulings on the objections; (ii) filing the
conformed version; and (iii) providing opposing counsel and the
Court with a conformed set of all designated discovery five (5)
calendar days before the Final Pretrial Conference.

          6.   This paragraph on designations shall not apply to
discovery materials that will be used at trial solely in cross-
examination or for impeachment.

     C.   Witness Lists

          1.   On or before eighteen (18) calendar days before
the Final Pretrial Conference, plaintiff shall file a list of
all witnesses intended to be called at trial.

          2.   On or before sixteen (16) calendar days before
the   Final  Pretrial  Conference,  defendant  shall  file  a
corresponding list of all witnesses intended to be called at
trial.

          3.  A copy of each subpoena issued for a witness'
attendance at trial shall be filed.   No witness who has been
subpoenaed may be excused except by leave of court or, if the
witness has not testified at trial, with the consent of all
parties.

           4. Failure to comply with the provisions of this
section will, in the absence of exceptional circumstances,
result in preclusion of the testimony of the witness and/or
sanctions.


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     D.   Exhibits

          1.   On or before eighteen (18) calendar days before
the Final Pretrial Conference, plaintiff shall file a list of
proposed exhibits.

          2.   On or before sixteen (16) calendar days before
the Final Pretrial Conference, defendant shall file a list of
proposed exhibits.

          3.   Any exhibit not listed and timely filed will not
be admitted at trial unless used solely for impeachment or
rebuttal purposes.   Counsel are admonished that the filing of
exhibits deemed by the Court to be unnecessary to a just
disposition of the case may be found to be violative of 28
U.S.C. § 1927 and the filing of unnecessary exhibits will be the
basis for sanctions.

          4.   A set of exhibits shall be delivered to the
opposing party on the date the serving party's exhibit list is
filed.

          5.   Exhibits shall be arranged in a notebook, with
each exhibit marked and individually tabbed.     Each exhibit
notebook should contain an index identifying each exhibit by
number and with a short neutral description.

          6.   Objections to exhibits shall be filed twelve (12)
calendar days before the Final Pretrial Conference. Any exhibit
to which no objection is made shall be admitted without further
action.

          7.  If counsel so desire, exhibit notebooks may also
be provided for each juror.  No exhibit or photograph shall be
shown to the jury unless a separate copy thereof is available
for each juror or is of such a size as to be easily seen from
the jury box.

          8.   On the day before the trial, each party shall
deliver to the Clerk’s Office two sets of pre-marked, indexed
exhibits (one for the judge; and one for the witness).

          9.   Exhibits as to which objections are taken shall
be brought to the Final Pretrial Conference.




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     E.   Jury Instructions

          1.   If this action is to be tried by a jury, each
party shall file a complete set of proposed jury instructions on
or before ten (10) calendar days before trial.     Objections to
instructions shall be filed in writing seven (7) calendar days
before trial.    Each party shall file a proposed jury verdict
form with its instructions.

          2.   Counsel shall make every effort to resolve
objections, to consolidate jury instructions, and to tender an
agreed set of instructions to the Court. Four (4) calendar days
before trial, counsel for the plaintiff shall file (a) a set of
all instructions as to which the parties are in agreement; and
(b) a separate set of instructions as to which there remains a
dispute, and, with respect to each such instruction, shall
briefly state the points on which the parties are still in
dispute.

          3.   Instructions shall be filed as a group with a
cover page in pleading form and with a certificate of service at
the end.    Each instruction shall be set forth on a separate
page, shall be numbered and identified by the party submitting
it (e.g., "P-1" or "D-1") and the original shall bear at its
foot a citation of authority supporting the instruction.

     F.   Findings Of Fact And Conclusions Of Law

          1.   If this action will not be tried by a jury, each
party shall file proposed findings of fact and conclusions of
law not later than ten (10) calendar days before trial.

          2.    The proposed findings of fact and conclusions of
law shall be in numbered paragraphs.    Conclusions of law shall
cite authority.

     G.   Voir Dire

          Any proposed voir dire questions shall be filed and
delivered to opposing counsel not later than seven (7) calendar
days before trial.   Objections to voir dire questions shall be
filed three (3) calendar days before trial.

     H.   If no Final Pretrial Conference is set, all deadlines
measured from the Final Pretrial Conference shall be measured
instead from the trial date.


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